                                         Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 1 of 45
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Sue Christmas, 250 S. Hirst Street, Philadelphia, PA 19139                                                    City of Philadelphia Dept. of Licenses and Inspections
                                                                                                              One Parkway Building - 14th Floor
    (b) County of Residence of First Listed Plaintiff             Philadelphia                                County of Residence of First Listed Defendant Philadelphia
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Joseph L. DiTomo Jr., 1026 Winter St., Suite 100, Philadelphia, PA                                          Meghan Claiborne, Esquire
19107
 215-238-8090

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Plaintiff alleges Federal Civil Rights violation under 42 U.S.C. Section 1983
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/24/2021                                                              /s/ Meghan E. Claiborne
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 06/17)      Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 2 of 45

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                                 Case 2:21-cv-01409  Document
                                                 UNITED         1 FiledCOURT
                                                        STATES DISTRICT 03/24/21 Page 3 of 45
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                      Sue Christmas, 250 S. Hirst St., Philadelphia, PA 19139
Address of Plaintiff: ______________________________________________________________________________________________
                              City of Philadelphia Law Department, 1515 Arch St., Phila., PA 19004
Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      03/24/2021
DATE: __________________________________                     __________________________________________                                    315918
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________

✔      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


DATE: __________________________________                     __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
                     Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 4 of 45

                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUE A. CHRISTMAS                                       :
                                                       :
                                                       :
                                                       :         Civil Action No. 200302789
v.                                                     :
                                                       :
                                                       :
                                                       :
CITY OF                                                :
PHILADELPHIA DEPT.
OF LICENSES &                                          :
INSPECTIONS                                            :
                                                       :         JURY TRIAL DEMANDED
                                                       :
                                                       :
                                                       :
                                                       :
                                                       :
                                                       :

                                 CASE MANAGEMENT TRACK DESIGNATION FORM

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall complete a
Case Management Track Designation Form in all civil cases at the time of filing the complaint and serve a copy on all
defendants. (See § 1:03 of the plan set forth on the reverse side of this form.) In the event that a defendant does not agree with
the plaintiff regarding said designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to which that defendant
believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C. §2241through § 2255.                               (   )

(b) Social Security -- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                    (   )

(c) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2.       (   )

(d) Asbestos -- Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                             (   )

(e) Special Management -- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                                (   )

(f) Standard Management -- Cases that do not fall into any one of the other tracks.                   (X)


03/23/2021                   _______Meghan Claiborne__________               Defendants_________________________
Date                              Meghan Claiborne, Esq.                     Attorney for


 (215) 683-5447                   (215) 683-5397                          meghan.claiborne@phila.gov
_________________          __________________________                     ____________________ ________
Telephone                   FAX Number                                    E-mail Address
(Civ. 660) 10/02
            Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 5 of 45




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
SUE A. CHRISTMAS                            :
                                            :
v.                                          :      Civil Action No. 200302789
                                            :
                                            :
                                            :
CITY OF PHILADELPHIA                        :
DEPT. OF LICENSES &                         :
INSPECTIONS                                 :
                                            :
                                            :       JURY TRIAL DEMANDED
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :

                                  NOTICE OF REMOVAL


To the Honorable Judges of the United States District Court for the Eastern District of
Pennsylvania.
        Pursuant to 28 U.S.C. § 1441, defendant, City of Philadelphia Dept. of Licenses &
Inspections (hereinafter “petitioner”) through its counsel, Meghan Claiborne, Deputy City
Solicitor, respectfully petitions for the removal of this action to the United States District
Court for the Eastern District of Pennsylvania. In support thereof, defendant states the following:


       1. On November 20, 2020, plaintiff filed a Complaint in the Court of Common Pleas in
Philadelphia, March Term, 2020; No. 02789. (Exhibit A - Complaint).

       2. On November 20, 2020 said Complaint was served on Petitioner via electronic filing.


       3. In her Complaint, Plaintiff asserts a single count for Negligence against
petitioner. See Complaint at Count I.


       4. On December 8, 2020, petitioner filed preliminary objections to Plaintiff's
Complaint on the basis that petitioner is entitled to immunity as to Plaintiff's claim
for negligence under the Political Subdivision Tort Claims Act (the “Act”). 42 Pa.C.S.
§§ 8541, et seq. Exhibit B - Preliminary Objections).
             Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 6 of 45




         5. On December 29, 2020, Plaintiff filed an answer to petitioner's preliminary objections
on the basis that Plaintiff "has made out a claim for an unconstitutional government taking without
due process of law, an act outlawed by the 5th Amendment to the United States Constitution. Said
made out claim is absolutely actionable under 42 U.S.C. § 1983 'Civil action for deprivation of
rights.'" (Exhibit C - Answer to Preliminary Objections, at ¶¶ 9).


       6. While Plaintiff did not plead a 5th Amendment taking claim, on March 3, 2021 the
Court denied the City's preliminary objections, thereby sanctioning Plaintiff's intention to move
forward with a 5th Amendment taking claim under 42 U.S.C. § 1983. (Exhibit D - Order).


       7. In sum, while not expressly plead, Plaintiff has indicated an intention to proceed on a
5th amendment taking claim under 42 U.S.C. § 1983, and the Court has accepted Plaintiff's
argument that this case involves a constitutional claim.


      Wherefore, petitioners, City of Philadelphia, respectfully request that the captioned
Complaint be removed to the United States District Court for the Eastern District
of Pennsylvania.


                                                         Respectfully submitted,

                                                          Meghan E. Claiborne____
                                                         MEGHAN CLAIBORNE
                                                         Deputy City Solicitor
                                                         Attorney I.D. No. 315918
                                                         1515 Arch Street, 14th
                                                         Floor Philadelphia, PA
                                                         19102 215-683-5447 Date:
                                                         3/24/2021
            Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 7 of 45




                   IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUE A. CHRISTMAS                             :
                                             :
v.                                           :
                                             :     Civil Action No. 200302789
CITY OF                                      :
PHILADELPHIA DEPT.                           :
OF LICENSES &                                :
INSPECTIONS                                  :
                                             :
                                             :
                                             :
                                             :     JURY TRIAL DEMANDED
                                             :
                                             :
                                             :
                                             :
                                             :
                                             :


TO:   Joseph L. DiTomo, Esquire
      Law Office of Joseph DiTomo, Jr., PC
      1026 Winter St., Suite 100
      Philadelphia, PA 19107


PLEASE TAKE NOTICE THAT on March 24, 2020, defendant, City of Philadelphia, filed, in
the office of the Clerk of the United States District Court for the Eastern District of
Pennsylvania a verified Notice of Removal.
       A copy of this Notice of Removal is attached hereto and is also being filed with the Clerk
of the Court of Common Pleas of Philadelphia County, pursuant to Title 28, United States Code,
Section 1446(e).

                                                   Meghan E. Claiborne          _
                                                  MEGHAN CLAIBORNE
                                                  Deputy City Solicitor
                                                  Attorney I.D. No. 315918
                                                  City of Philadelphia Law
                                                  Department 1515 Arch Street, 14th
                                                  Floor Philadelphia, PA 19102
                                                  215-683-5447
             Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 8 of 45


CITY OF PHILADELPHIA LAW DEPARTMENT                             ATTORNEY FOR DEFENDANT
MEGHAN E. CLAIBORNE
DEPUTY CITY SOLICITOR
IDENTIFICATION NO. 3159181515
ARCH STREET, 14TH FLOOR
PHILADELPHIA, PA 19102
(215) 683-5447
(215) 683-5397 (fax)
meghan.claiborne@phila.gov

                                                         PHILADELPHIA COUNTY
SUE A. CHRISTMAS                               :         COURT OF COMMON PLEAS
                                               :
v.                                             :
                                               :         MARCH TERM 2020
                                               :
CITY OF PHILADELPHIA                           :         NO. 02789
DEPT. OF LICENSES &                            :
INSPECTIONS                                    :           JURY TRIAL DEMANDED


                                       : NOTICE OF REMOVAL
                     NOTICE OF FILING OF



TO:    PROTHONOTARY

       Court of Common Pleas of Philadelphia County

Pursuant to 28 U.S.C. § 1446(d), Defendant, City of Philadelphia (“Removing Defendant”), by

and through undersigned counsel, hereby gives notice that it has filed in the United States

District   court   for   the   Eastern   District   of   Pennsylvania    the   attached   Notice   of

Removal (without exhibits) of the above-captioned action.

       Pursuant to 28 U.S.C. § 1446, the filing of this Notice effects the removal of this action to

the federal court, and this Court is directed to “proceed no further unless and until the case is

remanded.” 28 U.S.C. § 1446(d).

                                               Respectfully submitted,

 Date: March 24, 2021

                                               Meghan Claiborne, Esquire
                                               Deputy City Solicitor
            Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 9 of 45




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUE A. CHRISTMAS                           :
v.                                         :
CITY OF                                    :
PHILADELPHIA DEPT.                         :      Civil Action No. 200302789
OF LICENSES &                              :
INSPECTIONS                                :
                                           :
                                           :
                                           :
                                           :
                                           :
                                           :      JURY TRIAL DEMANDED
                                           :
                                           :
                                           :
                                           :
                                           :
                                           :



                                CERTIFICATE OF SERVICE

        I, Meghan Claiborne, Deputy City Solicitor, do hereby certify that a true and correct
copy of the attached Notice of Removal has been served upon the following by First Class Mail,
postpaid, on the date indicated below:



TO:    Joseph L. DiTomo, Esquire
       Law Office of Joseph diTomo, Jr., PC
        1026 Winter St., Suite 100
        Philadelphia, PA 19107


                                                   Meghan E. Claiborne________
                                                   MEGHAN CLAIBORNE
                                                   Deputy City Solicitor
                                                   Attorney ID No. 315918
                                                   City of Philadelphia Law
                                                   Department 1515 Arch Street, 14th
                                                   Floor Philadelphia, PA 19102
                                                   215-683-5447
                                                   Date: March 24, 2021
Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 10 of 45




         EXHIBIT A
Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 11 of 45




                                               Filed and Attested by the
                                              Office of Judicial Records
                                                  20 NOV 2020 10:35 am
                                                      A. SILIGRINI




                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 15 of 45




                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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                                                             Case ID: 200302789
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         EXHIBIT B
             Case 2:21-cv-01409 Document 1 Filed 03/24/21 Page 24 of 45




______________________________________________________________________________
SUE A. CHRISTMAS                    :
                        Plaintiff,  :    PHILADELPHIA COUNTY
                                    :    COURT OF COMMON PLEAS
                                    :
v.                                  :
                                    :     MARCH TERM 2020
CITY OF PHILADELPHIA                :
                        Defendant.  :
                                    :      NO. 02789
______________________________________________________________________________
                                   ORDER


       AND NOW, this _______ day of ____________________, 2020, upon consideration of

Defendant, the City of Philadelphia’s, Preliminary Objections, and any response thereto, it is

hereby ORDERED that Defendant’s Motion is GRANTED. Plaintiff’s complaint is dismissed with

prejudice.




                                                  _________________________
                                                                          J.
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                                                    To the herein:
                                                    You are hereby notified to plead
                                                    To the enclosed Preliminary Objections
                                                    within twenty (20) days of service
                                                    Thereof or a default judgment
                                                    May be entered against you.


                                                    _/s/ Meghan E. Claiborne__________
                                                    Meghan E. Claiborne, Esq.
                                                    Attorney for Defendants

CITY OF PHILADELPHIA, LAW DEPARTMENT
BY: MEGHAN E. CLAIBORNE
ATTORNEY ID: 315918
1515 ARCH STREET, 14TH FLOOR
PHILADELPHIA, PA 19102
215-683-5447
______________________________________________________________________________
SUE A. CHRISTMAS                    :
                        Plaintiff,  :    PHILADELPHIA COUNTY
                                    :    COURT OF COMMON PLEAS
                                    :
v.                                  :
                                    :     MARCH TERM 2020
CITY OF PHILADELPHIA                :
                        Defendant.  :
                                    :      NO. 02789
______________________________________________________________________________

                     DEFENDANT’S PRELIMINARY OBJECTIONS

       Defendant, the City of Philadelphia (the “City”), by and through its undersigned counsel,

hereby files this Preliminary Objection pursuant to Pennsylvania Rule of Civil Procedure 1028:

       1.     Plaintiff, Sue A. Christmas (“Plaintiff”), initiated the instant lawsuit against the

City on April 1, 2020 via writ of summons.

       2.     Plaintiff filed the complaint on November 20, 2020. See Complaint (“Cmplt.”),

attached as Exhibit A.
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       3.      Plaintiff is the owner of a property at 200 N. Robinson Street, Philadelphia, PA (the

“Property”). Cmplt. at ¶3.

       4.      Plaintiff alleges that on April 19, 2018, the City contracted to have the building on

the Property demolished due to an alleged imminently dangerous condition of the Property. Id. at

¶4.

       5.      Plaintiff further alleges that the City failed to provide prior notice of violation

before demolishing the building. Id. at ¶5.

       6.      Notably, Plaintiff fails to deny the City’s categorization of the Property as

imminently dangerous immediately prior to the demolition.

       7.      Regardless, the City is entitled to immunity as to Plaintiff’s claim for negligence

pursuant to the Tort Claims Act.

                  THE CITY IS IMMUNE FROM PLAINTIFF’S CLAIM

       8.      The City objects in the nature of a demurer as to Plaintiff’s claim for negligence.

       9.      This claim for vicarious liability fails because the City is absolutely immune from

liability pursuant to the Political Subdivision Tort Claims Act (the “Act”). 42 Pa.C.S. §§ 8541 et

seq.

       10.     “Governmental immunity is a defense properly raised by preliminary objections.”

Jones v. City of Philadelphia, 893 A.2d 837, 843 (Pa. Cmwlth. 2006); Chester Upland School

District v. Yesavage, 653 A.2d 1319, 1327 (Pa. Cmwlth. 1995).

       11.     The Act immunizes the City of Philadelphia from most state law claims.

       12.     Section 8541 states in pertinent part: “[e]xcept as otherwise provided in this

subchapter, no local agency shall be liable for any damages on account of any injury to a person




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or property caused by any act of the local agency or any employee thereof or any other persons.”

42 Pa.C.S. § 8541.

        13.     To proceed, a plaintiff must meet two threshold requirements. First, the plaintiff

must show that a common law cause of action exists and allows for damages. Phillips v. City of

Philadelphia, et al., 610 A.2d 509, 511 (Pa. Cmwlth. 1992).

        14.     Second, the plaintiff must establish that his claim fits into one of eight exceptions

that relate to City liability for negligence. Id. at 512.

        15.     The negligence-related exceptions to this general grant of immunity are as follows:

1) vehicle liability; 2) the care, custody and control of personal property; 3) the care, custody and

control of real property; 4) trees; traffic controls and street lighting; 5) utility service facilities; 6)

streets; 7) sidewalks; 8) the care, custody and control of animals; and 9) sexual abuse caused by

the acts or omissions of a local agency. 42 Pa.C.S. § 8542(b); see also Cooper v. City of Chester,

810 F. Supp. 618 (E.D. Pa. 1992).

        16.     The exceptions to governmental immunity must be strictly construed because the

purpose of the Act is to insulate the local agency from liability. See Finn v. City of Philadelphia,

664 A.2d 1342, 1343 (Pa. 1995). In general, immunity is the rule and liability is the exception.

        17.     It is clear that Plaintiffs’ negligence claim does not constitute an exception to the

Act’s general grant of immunity to the City of Philadelphia from liability for negligence. See id. §

8542(b).

        18.     Therefore, under the plain language of the Act, the City is immune from Plaintiff’s

suit for negligent demolition of the Property. See 42 Pa.C.S. § 8541; Guy v. Bristol Borough, No.

16-1557, 2018 WL 3141429, at *8 (E.D. Pa. June 27, 2018) (granting the motion for summary

judgment because “the [Act]’s immunity applies and bars Plaintiff’s negligent demolition claim”).




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       WHEREFORE, Defendant, the City of Philadelphia, respectfully request that this Court

grant their Preliminary Objections and dismiss Plaintiff’s Complaint with prejudice.



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                                                    Respectfully submitted,

Date: December 8, 2020                              /s/ Meghan E. Claiborne_________
                                                    Meghan E. Claiborne, Esquire
                                                    Deputy City Solicitor




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CITY OF PHILADELPHIA LAW DEPARTMENT                   ATTORNEY FOR DEFENDANTS
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meghan.claiborne@phila.gov

______________________________________________________________________________
SUE A. CHRISTMAS                    :
                        Plaintiff,  :    PHILADELPHIA COUNTY
                                    :    COURT OF COMMON PLEAS
                                    :
v.                                  :
                                    :     MARCH TERM 2020
CITY OF PHILADELPHIA                :
                        Defendant.  :
                                    :      NO. 02789
______________________________________________________________________________

               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S
                        PRELIMINARY OBJECTIONS

   I.      MATTER BEFORE THE COURT

        Defendant, the City of Philadelphia’s (the “City”), by and through its undersigned counsel,

hereby files the instant Memorandum of Law in Support of Preliminary Objections. Plaintiff, Sue

A. Christmas (“Plaintiff”), has asserted a single claim for negligence against the City stemming

from the City’s demolition of Plaintiff’s property.

        The City is immune from Plaintiff’s negligence claim pursuant to the Political Subdivision

Tort Claims Act (“Tort Claims Act”), 42 Pa. C.S. §§ 8541 et seq., the City respectfully requests

that this Court grant the City’s Preliminary Objections pursuant to Pennsylvania Rule of Civil

Procedure 1028 and dismiss the Complaint with prejudice.
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   II.       STATEMENT OF QUESTIONS INVOLVED

      Question:     Should Plaintiff’s Claim for Negligence Be Dismissed With Prejudice
Because the City Has Immunity as to Plaintiff’s Negligence Claim Under the Tort Claims
Act?

          Suggested Answer:      Yes.

   III.      FACTUAL AND PROCEDURAL BACKGROUND

          Plaintiff, Sue A. Christmas (“Plaintiff”), initiated the instant lawsuit against the City on

April 1, 2020 via writ of summons. Plaintiff filed the complaint on November 20, 2020. See

Complaint (“Cmplt.”), attached as Exhibit A. Plaintiff is the owner of a property at 200 N.

Robinson Street, Philadelphia, PA (the “Property”). Cmplt. at ¶3. Plaintiff alleges that on April 19,

2018, the City contracted to have the building on the Property demolished due to an alleged

imminently dangerous condition of the Property. Id. at ¶4.

   Plaintiff further alleges that the City failed to provide prior notice of violation before

demolishing the building. Id. at ¶5. Notably, Plaintiff fails to deny the City’s categorization of the

Property as imminently dangerous immediately prior to the demolition. Regardless, the City is

entitled to immunity as to Plaintiff’s claim for negligence pursuant to the Tort Claims Act.

   IV.       ARGUMENT

          The City objects in the nature of a demurer as to Plaintiff’s claim for negligence. This claim

for vicarious liability fails because the City is absolutely immune from liability pursuant to the

Political Subdivision Tort Claims Act (the “Act”). 42 Pa.C.S. §§ 8541 et seq.

          “Governmental immunity is a defense properly raised by preliminary objections.” Jones v.

City of Philadelphia, 893 A.2d 837, 843 (Pa. Cmwlth. 2006); Chester Upland School District v.

Yesavage, 653 A.2d 1319, 1327 (Pa. Cmwlth. 1995). The Act immunizes the City of Philadelphia




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from most state law claims. Section 8541 states in pertinent part: “[e]xcept as otherwise provided

in this subchapter, no local agency shall be liable for any damages on account of any injury to a

person or property caused by any act of the local agency or any employee thereof or any other

persons.” 42 Pa.C.S. § 8541. To proceed, a plaintiff must meet two threshold requirements. First,

the plaintiff must show that a common law cause of action exists and allows for damages. Phillips

v. City of Philadelphia, et al., 610 A.2d 509, 511 (Pa. Cmwlth. 1992). Second, the plaintiff must

establish that his claim fits into one of eight exceptions that relate to City liability for negligence.

Id. at 512.

        The negligence-related exceptions to this general grant of immunity are as follows: 1)

vehicle liability; 2) the care, custody and control of personal property; 3) the care, custody and

control of real property; 4) trees; traffic controls and street lighting; 5) utility service facilities; 6)

streets; 7) sidewalks; 8) the care, custody and control of animals; and 9) sexual abuse caused by

the acts or omissions of a local agency. 42 Pa.C.S. § 8542(b); see also Cooper v. City of Chester,

810 F. Supp. 618 (E.D. Pa. 1992). The exceptions to governmental immunity must be strictly

construed because the purpose of the Act is to insulate the local agency from liability. See Finn v.

City of Philadelphia, 664 A.2d 1342, 1343 (Pa. 1995). In general, immunity is the rule and liability

is the exception.

        It is clear that Plaintiffs’ negligence claim does not constitute an exception to the Act’s

general grant of immunity to the City of Philadelphia from liability for negligence. See id. §

8542(b). Therefore, under the plain language of the Act, the City is immune from Plaintiff’s suit

for negligent demolition of the Property. See 42 Pa.C.S. § 8541; Guy v. Bristol Borough, No. 16

1557, 2018 WL 3141429, at *8 (E.D. Pa. June 27, 2018) (granting the motion for summary

judgment because “the [Act]’s immunity applies and bars Plaintiff’s negligent demolition claim”).




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   V.      CONCLUSION

        Based on the foregoing, Defendant, the City of Philadelphia, respectfully requests that this

Court grant their Preliminary Objections and dismiss Plaintiff’s Complaint with prejudice.




                                                     Respectfully submitted,

Date: December 8, 2020                               /s/ Meghan E. Claiborne______
                                                     Meghan E. Claiborne, Esquire
                                                     Deputy City Solicitor




                                                 4
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______________________________________________________________________________
SUE A. CHRISTMAS                    :
                        Plaintiff,  :    PHILADELPHIA COUNTY
                                    :    COURT OF COMMON PLEAS
                                    :
v.                                  :
                                    :     MARCH TERM 2020
CITY OF PHILADELPHIA                :
                        Defendant.  :
                                    :      NO. 02789
______________________________________________________________________________

                              CERTIFICATE OF SERVICE

      I hereby certify that on the date below, the foregoing Preliminary Objections of Defendant,

the City of Philadelphia, has been electronically filed and is available for viewing and

downloading.




Date: December 8, 2020                             /s/ Meghan E. Claiborne_________
                                                   Meghan E. Claiborne, Esquire
                                                   Deputy City Solicitor
                                                   Pa. Attorney ID No. 315918
                                                   City of Philadelphia Law Department
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              29 DEC 2020 09:41 pm

             E. MEENAN




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                                                         Control No.: 20120914
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